






NO. 07-02-0352-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



NOVEMBER 21, 2002


______________________________



DAVID MCKAY,




		Appellant


v.



THE STATE OF TEXAS, 




		Appellee

_________________________________



FROM THE 31ST DISTRICT COURT OF LIPSCOMB COUNTY;



NO. 1026; HON. STEVEN EMMERT, PRESIDING


_______________________________



Before QUINN, REAVIS and JOHNSON, JJ.

	David McKay (appellant) appeals from an order revoking his community
supervision.  He had originally been convicted of aggravated assault with a deadly weapon
via a plea bargain and plea of guilty.  Pursuant to the plea agreement, he was sentenced
to five years imprisonment.  However, the sentence was suspended, and appellant was
placed on five years probation.  Subsequently, the State filed a motion to revoke probation. 
Appellant pled true to various grounds stated in the motion and denied the others.  The
trial court granted the motion, revoked appellant's probation, and sentenced him to five
years in the Institutional Division of the Texas Department of Criminal Justice.  

	Appellant timely noticed his appeal, and counsel was appointed.  Appellant's
counsel then moved to withdraw, after filing a brief pursuant to Anders v. California, 386
U.S. 738, 87 S. Ct. 1396, 18 L.Ed.2d 493 (1967), and representing that he had searched
the record and found no arguable grounds for reversal.  The motion and brief illustrated
that appellant was informed of his rights to review the appellate record and file his own
brief.  So too did we inform appellant that any pro se response or brief he cared to file had
to be filed by November 14, 2002.  To date, appellant has filed no pro se response or brief. 

	In compliance with the principles enunciated in Anders, appellate counsel discussed
four potential areas for appeal.  Each concerned the courts decision to revoke his
community supervision.  However, in posing the arguments, counsel also illustrated why
each was without merit.  

	Moreover, we conducted an independent review of the record to determine whether
there existed reversible error and found none.  See Stafford v. State, 813 S.W.2d 503, 511
(Tex. Crim. App. 1991) (requiring us to conduct an independent review).  The record
illustrated that no appeal was taken within 30 days from the date of appellant's guilty plea
and conviction complaining of error occurring at that time; thus, we have no jurisdiction
over any purported error arising from or prior to the plea hearing.  Manuel v. State, 944
S.W.2d 658, 661-62 (Tex. Crim. App. 1999); see Cooper v. State, 45 S.W.3d 77, 83 (Tex.
Crim. App. 2001).  Furthermore, finding that any one ground warranting revocation existed,
the trial court was entitled to revoke his community supervision.  Moore v. State, 605
S.W.2d 924, 926 (Tex. Crim. App. 1979).  Here, appellant pled true to two of the four
grounds contained in the motion to revoke.  Standing alone, a plea of true is sufficient to
support the trial court's order of revocation.  Hatten v. State, 71 S.W.3d 332, 335 n.2 (Tex.
Crim. App. 2002).  Thus, the appellate record contained evidence supporting the decision
to revoke probation.  Furthermore, the punishment levied was within the range provided
by statute and agreed to by the parties.

	Accordingly, counsel's motion to withdraw is granted, and the judgment of the trial
court is affirmed.  

                                                                             Brian Quinn 

                                                                                Justice 

 

 

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ascript:WPShow('WPFootnote1', WPFootnote1 )"&gt;


Memorandum Opinion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In this appeal, appellant Tracy Lynn Ware seeks reversal of his conviction of
delivery of a controlled substance in a drug-free zone and the resulting punishment of forty-five years confinement in the Institutional Division of the Texas Department of Criminal
Justice.  In doing so, he presents five issues for our decision.  In those issues, he argues: 
1) and 2) the evidence is legally and factually insufficient to support the conviction; 3) the
trial court erred by overruling his motion to dismiss the complaint because of a violation of
article 32.01 of the Texas Code of Criminal Procedure; and 4) and 5) he received
ineffective assistance of trial counsel because of counsel’s failure to properly pursue
appellant’s pro se motion to dismiss the prosecution due to a violation of article 32.01 of
the Texas Code of Criminal Procedure which he filed prior to the appointment of his trial
counsel.  Disagreeing that reversible error is shown, we affirm the judgment of the trial
court.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Logical continuity requires that we initially discuss appellant’s issues three, four and
five inasmuch as they deal with pretrial matters.  In relevant part, article 32.01 of the Code
of Criminal Procedure provides “[w]hen a defendant has been detained in custody or held
to bail for his appearance to answer any criminal accusation, the prosecution, unless
ordered by the court, for good cause shown, supported by affidavit, shall be dismissed and
the bail discharged, if indictment or information be not presented against such defendant
on or before the last day of the next term of the court which is held after his commitment
or admission to bail or on or before the 180th day after the date of commitment or
admission to bail, whichever is later.”  Tex. Code Crim. Proc. Ann. art. 32.01 (Vernon
2006).  Parenthetically, the dismissal is not automatic as the State does have the right to
show good cause for the failure to comply with the time requirement of article 32.01.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The record reflects that appellant was first charged in a November 2005 complaint
but was not actually indicted until June 14, 2006.  Thus, after the expiration of 180 days
from the date he was first charged, appellant was entitled to a dismissal of the complaint,
and, arguably, entitled to be discharged from custody.  He filed a pro se motion seeking
dismissal on May 30, 2006, and, one day later, an attorney was appointed to represent
him.  However, subsequent to the appointment of his attorney, no hearing was scheduled
or held regarding appellant’s motion to dismiss, and, on June 13, 2006, he filed a motion
seeking to remove his attorney because of an alleged failure to properly pursue the
dismissal motion.  Appellant was then indicted on June 14, 2006, thereby mooting his
motion to dismiss.  It is the alleged failure of his attorney to pursue that motion that gives
rise to appellant’s claims of deprivation of constitutional rights and ineffective assistance
of counsel.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Ex parte Countryman, 226 S.W.3d 435 (Tex. Crim. App. 2007), the Court had
occasion to consider the effect of a failure to return an indictment within the time limits
prescribed by article 32.01.  In that case, because of such a failure, the appellant filed an
application for writ of habeas corpus to have the prosecution dismissed.  After the filing of
the application, but before the trial court held a hearing on the writ application, an
indictment was returned.  The trial court denied the writ giving rise to an appeal.  The Court
of Appeals reversed the trial court and ordered the dismissal of the indictment because of
the failure to indict within the 180-day time period.  En route to reversing the Court of
Appeals’ decision, the Court of Criminal Appeals held that in the face of an otherwise
timely indictment, the failure to return an indictment within the 180-day period was not fatal
to the prosecution.  Id. at 438-39.  It is true that in Countryman, the appellant was confined
under a “blue warrant” for a parole violation and would not have been released from
confinement even if his motion had been granted.  However, the Court’s discussion of the
effect of a failure to comply with article 32.01 is still cogent and applicable.  Thus, the
failure to return an indictment within the 180-day period would not have required the
dismissal of the proceeding so long as the indictment was timely returned.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In the seminal case of Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80
L.Ed.2d 674 (1984), as adopted by our Court of Criminal Appeals in Hernandez v. State,
726 S.W.2d 53, 56-57 (Tex. Crim. App. 1986), the Court set out the test that must be
satisfied to establish an ineffective assistance of counsel claim.  To show that trial counsel
was ineffective, an appellant must demonstrate that:  1) trial counsel’s performance was
deficient because it fell below an objective standard of reasonableness; and 2) a probability
sufficient to undermine confidence in the outcome existed that, but for counsel’s
unprofessional errors, the result of the proceeding would have been different.  The judicial
scrutiny of counsel’s performance must be highly deferential and a reviewing court must
indulge a strong presumption that counsel’s conduct falls within the wide range of
reasonable professional assistance and that counsel’s conduct might be considered sound
trial strategy.  Strickland v. Washington, 466 U.S. at 687- 689; Young v. State, 991 S.W.2d
835, 837 (Tex. Crim. App. 1999).   Thus, in this case, to demonstrate ineffective assistance
of counsel, appellant must have shown that a properly prepared and diligent attorney would
have convinced the trial court to grant his motion to dismiss pursuant to article 32.01.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;As we have noted, appellant contends that his trial counsel was ineffective because
he failed to pursue appellant’s pro se motion to dismiss pursuant to article 32.01 of the
Code of Criminal Procedure.  However, failure to file or pursue pretrial motions generally
does not per se demonstrate ineffective assistance of counsel.  For example, it has been
held that the failure to file a suppression motion or obtain a ruling on such a motion does
not, in and of itself, demonstrate ineffective assistance.  Wills v. State, 867 S.W.2d 852,
857 (Tex. App.–Houston [14th Dist.] 1993, pet. ref’d); Yuhl v. State, 784 S.W.2d 714, 717
(Tex. App.–Houston [14th Dist.] 1990, pet. ref’d). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;If an appellant fails to make a showing that a ruling on a pretrial motion would have
changed anything in the case, he has failed to establish ineffective assistance.  Roberson
v. State, 852 S.W.2d 508, 511 (Tex. Crim. App. 1993).  Additionally, even assuming that
trial counsel should have presented appellant’s pre-indictment motion to dismiss,  appellant 
must have shown how he was prejudiced by the failure, for example, by showing that a
“properly prepared attorney” would have persuaded the trial court to grant the motion.  See
Jackson v. State, 973 S.W.2d 954, 957 (Tex. Crim. App. 1998) (holding appellant is
required to show the motion  to suppress would have been granted to demonstrate
ineffective assistance of counsel).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The record shows that appellant filed his motion to dismiss on May 30, 2006. 
Counsel for appellant was appointed on June 1, 2006.  The indictment was returned on
June 14, 2006.  Because the indictment was timely returned, appellant’s motion became
moot, and would not have been granted under the circumstances we have iterated above. 
Accordingly, appellant has not satisfied his burden to show ineffective assistance on this
ground.  Thompson v. State, 9 S.W.3d 808, 814 (Tex. Crim. App. 1999). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Additionally, we have carefully reviewed the record, and, from the totality of
counsel’s actions, it is clear that appellant did receive effective assistance of counsel.  Trial
counsel properly and successfully argued pretrial matters before the trial court,
appropriately and effectively cross-examined the State’s witnesses, and made appropriate
objections at various points in the proceedings.  Moreover, counsel presented  persuasive
closing arguments.  In sum, appellant did receive effective trial representation.  Thus, his
issues three, four, and five do not present reversible error and are overruled.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We next move to consider appellant’s contentions that the evidence produced at
trial was legally and factually insufficient to support his conviction.  When such a two-fold
challenge is presented, we must first determine whether the evidence is legally sufficient
to support the verdict.  Clewis v. State, 922 S.W.2d 126, 133 (Tex. Crim. App. 1996).  In
considering that challenge, we must review all the evidence in the light most favorable to
the prosecution and determine whether any rational trier of fact could have found the
essential elements of the crime beyond a reasonable doubt.  Jackson v. Virginia, 443 U.S.
307, 319, 99 S.Ct. 2781, 61 L.Ed.2d 560, 573 (1979); McKinney v. State, 207 S.W.3d 366,
374 (Tex. Crim. App. 2006).  In doing so, we may not sit as a thirteenth juror, but must
uphold the jury’s verdict unless it is irrational or supported by no more than a mere
modicum of evidence.  Moreno v. State, 755 S.W.2d 866, 867 (Tex. Crim. App. 1988).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Even so, evidence supporting guilt, though legally sufficient, may be factually
insufficient because it is so weak that the jury’s verdict seems clearly wrong and manifestly
unjust, or because evidence contrary to the verdict is such that the jury’s verdict is against
the great weight and preponderance of the evidence.  Marshall v. State, 210 S.W.3d 618,
625 (Tex. Crim. App. 2006).  In conducting our factual sufficiency review, we must
remember that it is the exclusive province of the jury to determine the credibility of the
witnesses and the weight to be given their testimony, and unless the record demonstrates
a different result is appropriate, we must defer to the jury’s determination.  Johnson v.
State, 23 S.W.3d 1, 9 (Tex. Crim. App. 2000).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In this case, appellant was charged with intentionally or knowingly delivering, by
making an actual transfer from himself to David Ponce, cocaine in an amount of more than
four grams but less than 200 grams.  Thus, the State had the burden to prove beyond a
reasonable doubt that appellant 1) intentionally or knowingly; 2) delivered by actual 
transfer to David Ponce; 3) cocaine in an amount more than four grams but less than 200
grams.  Tex. Health &amp; Safety Code Ann. §481.115(d) (Vernon 2003).  At trial, the State
proceeded under the theory that appellant was a party to the offense.  To convict under the
law of parties, the State must have shown that appellant acted with the intent to promote
or assist the offense by soliciting, encouraging, directing, aiding or attempting to aid the
other person in the commission of the offense.  Tex. Pen. Code Ann. § 7.02(a)(2) (Vernon
2003).  Thus, to establish delivery of a controlled substance as a party, the State must
have established that 1) another person possessed the contraband with the intent to
deliver; and, 2) that the defendant, with the intent that the offense be committed, solicited,
encouraged, directed, aided, or attempted to aid the other’s possession.  Woods  v. State,
998 S.W.2d 633, 636 (Tex. App.–Houston [1st Dist.] 1999, pet. ref’d).  Knowledge of the
presence of the cocaine is a required element for conviction both as a principal and as a
party to the offense.  Robinson v. State, 174 S.W.3d 320, 325 (Tex. App.–Houston [1st
Dist.] 2005, pet. ref’d).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At trial, the State presented evidence through witness testimony, video and audio
surveillance, photographs, and tangible evidence, that on November 17, 2005, the date in
question, Officer David Ponce, a narcotics agent, who averred that he had purchased
narcotics previously from Glen Hooper, had arranged with Hooper by telephone, in a “buy-bust” operation, to purchase $4,000  worth of crack cocaine.  The surveillance tape showed
appellant sitting in a red Monte Carlo automobile in a parking lot at an apartment complex
which was later discovered to be appellant’s residence.  Appellant was approached by
Hooper, then carrying a small child, and a brief conversation ensued.  Hooper then took 
the child to some unidentified location and returned to the car which was operated by
appellant.  Appellant and Hooper left the apartment complex and then later returned to the
parking lot.  Upon their return, Hooper got out of the automobile, and got into a vehicle
driven by Officer Ponce.  As he did so, there was testimony that Officer Ponce looked over
to the red Monte Carlo, and he and appellant waved and greeted each other.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;While Hooper was in the officer’s car, the officer paid money to Hooper and received
some crack cocaine.  At that time, another law enforcement agent gave a signal and an
arrest team moved in and arrested both appellant and Hooper.  The evidence established
that the cocaine received by Officer Ponce was in an amount of at least four but less than
200 grams.  It was also established that the transaction took place within 1000 feet of a
premises operated by a school.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In testimony regarding the relationship between appellant and Hooper, the State
presented the testimony of Carol McKnight, appellant’s ex-girlfriend.  Ms. McKnight averred
that appellant lived with her at the apartment complex where the transaction took place. 
She also testified that Hooper stayed overnight at the apartment she shared with appellant. 
She said that neither appellant nor Hooper had a job while she knew them and that Hooper
obtained his income from selling crack cocaine.  She also averred that appellant and
Hooper had discussions about selling crack cocaine and that she witnessed conversations
between appellant and Hooper concerning a sale that  would take place in November 2005
to Officer Ponce (known as “Big Dave”), and that Hooper told appellant that the sale was
a “big lick” and that when the sale was complete, he, Hooper, would “half” the profit.  She
also testified that in correspondence with appellant after his arrest, appellant admitted his
knowledge of the deal but said that he couldn’t be convicted because all he did was drive
the car and that he was going to pretend that he didn’t know anything about the
transaction. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Hooper testified and denied that appellant had anything to do with the sale.  Officer
Vernon Wilson testified that he was working as an undercover narcotics agent at the time
in question and he was standing next to appellant while he was handcuffed and that
appellant did not personally deliver any drugs and he did not see appellant handling either
the drugs or money involved in the transaction.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Summarized, the testimony in the case was conflicting as to appellant’s participation
in the drug transaction.  The State’s evidence, if accepted by the jury, was sufficient to
show that appellant resided at the apartment complex where the transaction took place. 
It was undisputed that Hooper was involved in a previously set up drug purchase and
delivery.  The State presented testimony that Hooper had been involved in previous drug
transactions, that appellant had talked to Hooper about the drug transaction before it took
place and was to receive part of the purchase price of the drugs, that appellant was the
driver of the vehicle in which the drugs were transported, that he drove to and remained
at the scene prior to and during the transaction, and that he remained in the car with the
engine running while Hooper delivered the drugs to Officer Ponce.  The State also
produced Ms. McKnight’s averment that appellant had admitted his knowledge of the
transaction.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Reiterated, as the factfinder, the jury is the exclusive judge of the credibility of the
witnesses and the weight to be given their testimony.  Hernandez v. State, 190 S.W.3d
856, 863-64 (Tex. App.–Corpus Christi  2006, no pet.).  In performing that function, the jury
is free to accept one version of the facts, reject another, or accept all or a part of a 
witness’s testimony.  Our review of the record clearly shows that the jury acted well within
its province in concluding appellant was guilty of the charge against him.  Appellant’s first
two points are overruled.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In final summary, all of appellant’s points of error are overruled, and the judgment
of the trial court is affirmed.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;John T. Boyd
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Senior Justice
&nbsp;
Quinn, C.J., concurs in result.
&nbsp;
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